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DeMarco‐MItchell, PLLC 
1255 West 15th Street, Suite 805 
Plano, TX 75075 
Telephone:    972‐578‐1400 
Facsimile:    972‐346‐6791 
 
                             IN THE UNITED STATES BANKRUPTCY COURT 
                                    NORTHERN DISTRICT OF TEXAS 
                                          DALLAS DIVISION   
IN RE:                                             § 
                                                   §        
STW Resources Holding Corp.                        § 
26‐1945743                                         §             Case No. 16‐33121‐bjh‐11 
5307 E. Mockingbird Lane                           § 
5th Floor, Mockingbird Station                     § 
Dallas, TX 75206                                   § 
                                                   §             Chapter 11 
                                                   § 
                                                   § 
Debtor                                             § 
 
                                Notice of Change in Matrix of Creditors 
 
         The attached creditor matrix is being filed to change the original matrix for the following reason:      
            
                                       X             Adding Creditors 
 
                                                        Deleting Creditors 
 
                                        _               Creditor Address Changes 
                                         
*IMPORTANT 
A separate Notice of Change in Creditor Matrix is required for each category for those cases where more than one 
of the above categories applies.    Please list on required matrix form, only those creditors affected by the change.   
DO NOT REFILE A COMPLETE NEW MATRIX. 
 
The attorney for the above‐named Debtor hereby verifies that the changes in the attached creditor matrix are true 
and correct to the best of his knowledge. 
 
 
Date:    August 26, 2016                                 Respectfully Submitted, 
 
                                                            /s/ Michael S. Mitchell  
                                                            _____________________________________ 
                                                            Michael S. Mitchell, Texas Bar No. 00788065 
                                                            DeMarco‐Mitchell, PLLC 
                                                            1255 West 15th Street, Suite 805 
                                                            Plano, TX 75075 
                                                            Telephone:    (972) 578‐1400/Facsimile:    (972) 346‐6791 
                                                            E‐mail:    mike@demarcomitchell.com 
                                                            Attorney For Debtor 
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                                        WTG Fuels, Inc. 
                                 C/O G. William Fowler, PC 
                              3800 East 42nd Street, Suite 600 
                                       Odessa, TX 79762 
                                                 
                             Upton county water station cp, LLC 
                             5307 E. Mockingbird Lane, 5th Floor 
                                   Dallas, TX 75206‐5109 
                                                 
                               Howard J. Gan & Robyn Miller 
                                     4884 Brewster Drive 
                                      Tarzana, CA 91356 
                                                 
                                  William Brian McDermott 
                                  C/O Richard Scarborough 
                                     8 Bonnie Brae Drive 
                                   Weaverville, NC 28787 
                                                 
                                      Charles Nethersole 
                                   4376 N. Michigan Ave. 
                                   Miami Beach, FL 33140 
                                                 
                                         Alan Murphy 
                                       7433 Billo Street 
                                    San Angelo, TX 76901 
                                                 
                                        Chance Murphy 
                                      218 Sugarloaf Ave. 
                                      Abilene, TX 79602 
                                                 
                                         Darrel Byrer 
                                     150 Alum Creek Rd. 
                                     Smithville, TX 78959 
                                                 
                                        Varkha Agrawal 
                                      9900 Broadway St. 
                                          Apt. 1341 
                                     Pearland, TX 77584 
                                                 
                                       Paul DiFrancesco 
                               17181 Camino Acampo Rancho 
                                 Rancho Santa Fe, CA 92067 
 
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                                             CERTIFICATE OF SERVICE 
 
         The  undersigned  certifies  that  true  and  correct  copies  of  the  attached  Notice  of  Change  in 
Matrix  of  Creditors  were  served  upon  all  parties  listed  below  in  accordance  with  applicable  rules  of 
bankruptcy procedure on this 26th day of August, 2016.     
                                                            Respectfully Submitted, 
                                                            /s/ Michael S. Mitchell  
                                                            _____________________________________ 
                                                            Michael S. Mitchell, Texas Bar No. 00788065 
                                                            DeMarco‐Mitchell, PLLC 
                                                            1255 West 15th Street, Suite 805 
                                                            Plano, TX 75075 
                                                            Telephone:    (972) 578‐1400 
                                                            Facsimile:    (972) 346‐6791 
                                                            E‐mail:    mike@demarcomitchell.com 
                                                            Attorney For Debtor 
                                                            DEBTOR 
STW Resources Holding Corp.                                       
5307 E. Mockingbird Lane 
5th Floor, Mockingbird Station 
Dallas, TX 75206 
 
                                                 UNITED STATES TRUSTEE 
Office of the United States Trustee                               
1100 Commerce Street, Room 976 
Dallas, TX 75242 
ustpregion06.da.ecf@usdoj.gov 
 

              ADDITIONAL PARTIES IN INTEREST AND/OR PARTIES REQUESTING NOTICE 
Midland County & Midland CUD                   TRE & Associates, LLC 
C/O Laura J. Monroe                            C/O Harrel L. Davis 
Perdue, Brandon, Fielder, Collins & Mott, LLP  Gordon Davis Johnson & Shane, PC 
P.O. Box 817                                   PO Box 1322 
Lubbock, TX 79408 
                                               El Paso, TX 79947‐1322 
lmonroe@pbfcm.com 
                                               hdavis@eplawyers.com 
 
                                                
Jolene M. Wise 
                                                             Kimberly A. Walsh 
Securities and Exchange Commission 
                                                             Assistant Attorney General 
175 West Jackson Blvd., Suite 900 
                                                             Attorney General’s Office 
Chicago, IL 60604 
                                                             Bankruptcy & Collections Division 
wisej@sec.gov 
                                                             PO Box 12548 
                                                             Austin, TX 78711‐2548 
                                                             Bk‐kwalsh@texasattorneygeneral.gov 
                                                             Sherri.simpson@texasattorneygeneral.gov 
